                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
V.                                          )        NO: 2:11-00003-3
                                            )        JUDGE SHARP
DERRICK LINDER                              )


                                           ORDER

       Due to a calendar conflict, the sentencing set for March 1, 2013, is hereby rescheduled

for Friday, March 8, 2013, at 1:30 p.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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